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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


 NFC TECHNOLOGY LLC,                          §
                                              §
          Plaintiff,                          §
                                              §
          v.                                  §            Case No. 2:13-CV-1058-WCB
                                              §
 HTC AMERICA, INC., ET AL.,                   §
                                              §
          Defendants.                         §



                         SUPPLEMENTAL PROTECTIVE ORDER

        Before the Court is Defendants HTC America, Inc. and HTC Corporation’s Partially

 Opposed Motion for Entry of Supplemental Protective Order. Dkt. No. 123. In light of Plaintiff

 NFC Technology, LLC’s Response to Defendants’ Motion (Dkt. No. 124) and their lack of

 opposition to the Motion, the Motion is GRANTED.

        WHEREAS, the Court previously entered a Protective Order in this case on April 29,

 2014 (Dkt. No. 73);

        WHEREAS, the Court previously entered a Supplemental Protective Order Governing

 Discovery from Non-Party Qualcomm (Dkt. No. 113);

        WHEREAS, the Parties and Third Party NXP have conferred, and counsel for Defendants

 and Third Party NXP have approved this Supplemental Protective Order;

        THEREFORE, it is hereby ORDERED that:




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 A.     Definitions

        1.       “NXP Material”: Confidential information (regardless of how generated, stored,

 or maintained) or tangible things that include or incorporate Third Party NXP Confidential

 Information, that Third Party NXP (i) would not normally reveal to third parties except in

 confidence, or has undertaken with others to maintain in confidence, (ii) believes in good faith is

 significantly sensitive, or (iii) protected by a right to privacy under federal or state law, or any

 other applicable privilege or right related to confidentiality or privacy. NXP Material includes all

 information, documents, source code, schematics, testimony, and things produced, served, or

 otherwise provided in this action by any Party or by Third Party NXP, that include or incorporate

 NXP Confidential Information.

        2.       “NXP – OUTSIDE COUNSEL’S EYES ONLY” material: information,

 documents, and things that include or incorporate NXP Material.

        3.       “Source Code”: includes human-readable programming language text that defines

 software, firmware, (collectively, “software Source Code”) and integrated circuits (“hardware

 Source Code”). Text files containing Source Code shall hereinafter be referred to as “Source

 Code files.” Software Source Code files shall include, but are not limited to, files containing

 Source Code in “C,” “C++,” BREW, Java ME, J2ME, assembler, digital signal processor (DSP)

 programming languages, and other human readable text programming languages. Software

 Source Code files further include “.include files,” “make” files, “link” files, and other human-

 readable text files used in the generation and/or building of software directly executed on a

 microprocessor, micro-controller, or DSP. Hardware Source Code files include, but are not

 limited to, files containing Source Code in VHDL, Verilog, and other Hardware Description

 Language (“HDL”) formats, including but not limited to, Register Transfer Level (“RTL”)

 descriptions.


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        4.      “Chip-Level Schematics”: means symbolic representations of analog electric or

 electronic circuits from which the physical structure of a chip is directly derived.

        5.      “NXP – OUTSIDE COUNSEL’S EYES ONLY – CONFIDENTIAL SOURCE

 CODE” Material: NXP Material that includes Source Code and Chip-Level Schematics that

 constitute proprietary technical or commercially sensitive competitive information that Third

 Party NXP maintains as highly confidential in its business, the disclosure of which is likely to

 cause harm to the competitive position of Third Party NXP. This includes Source Code and

 Chip-Level Schematics in the Producing Party’s possession, custody, or control, and made

 available for inspection by the Producing Party.

        6.      “Designated NXP Material”: material that is designated “NXP – OUTSIDE

 COUNSEL’S EYES ONLY” or “NXP – OUTSIDE COUNSEL’S EYES ONLY –

 CONFIDENTIAL SOURCE CODE” under this Supplemental Protective Order.

        7.      “Designated Source Code Material”: material that is designated “NXP –

 OUTSIDE COUNSEL’S EYES ONLY – CONFIDENTIAL SOURCE CODE” under this

 Supplemental Protective Order.

        8.      “Personnel Retained by a Receiving Party in this Action” means any consultants,

 experts, or outside counsel (including their support staff) that have been and continue to be

 retained by a Receiving Party in this action. For the sake of clarity, any person who was retained

 by a Receiving Party in this action will no longer fall under this definition if that person ceases to

 be retained by a Receiving Party in this action.

        9.      “Party” means any Party to the above-captioned actions, including all of its

 officers, directors, employees, consultants, retained experts, and all support staff thereof.




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        10.     “Producing Party” means a party or non-party that discloses or produces

 Designated NXP Material in the above-captioned actions.

        11.     “Receiving Party” a Party that receives Designated NXP Material from a

 Producing Party in the above-captioned actions.

        12.     “Authorized Reviewer(s)” shall mean persons authorized to review “NXP –

 OUTSIDE COUNSEL’S EYES ONLY” and “NXP – OUTSIDE COUNSEL’S EYES ONLY –

 CONFIDENTIAL SOURCE CODE” material in accordance with this Supplemental Protective

 Order and the Protective Order.

        13.     “Counsel of Record”: (i) Outside Counsel who appears on the pleadings, or has

 entered an appearance in this action, as counsel for a Party, and (ii) partners, principals, counsel,

 associates, employees, and contract attorneys of such Outside Counsel to whom it is reasonably

 necessary to disclose the information for this litigation, including supporting personnel employed

 by the attorneys, such as paralegals, legal translators, legal secretaries, legal clerks and shorthand

 reporters.

        14.     “Outside Consultant”: a person with specialized knowledge or experience in a

 matter pertinent to the litigation who has been retained by Counsel of Record to serve as an

 expert witness or a litigation consultant in this action (including any necessary support personnel

 of such person to whom disclosure is reasonably necessary for this litigation), and who is not a

 current employee of a Party, of a competitor of a Party, or of Third Party NXP, and who, at the

 time of retention, is not anticipated to become an employee of, or a non-litigation consultant of:

 1) a Party, 2) a competitor of a Party, 3) a competitor of Third Party NXP, or of 4) Third Party

 NXP.




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        15.     “Professional Vendors”: persons or entities that provide litigation support services

 (e.g., photocopying; videotaping; translating; designing and preparing exhibits, graphics, or

 demonstrations; organizing, storing, retrieving data in any form or medium; etc.) and their

 employees and subcontractors who have been retained or directed by Counsel of Record in this

 action, and who are not current employees of a Party, a competitor of a Party, or of Third Party

 NXP, and who, at the time of retention, are not anticipated to become employees of: 1) a Party,

 2) a competitor of a Party, 3) a competitor of Third Party NXP, or 4) Third Party NXP. This

 definition includes ESI vendors, and professional jury or trial consultants retained in connection

 with this litigation to assist a Party, Counsel of Record, or any Outside Consultant in their work.

 Professional vendors do not include consultants who fall within the definition of Outside

 Consultant.

 B.     Relationship to Protective Order

        16.     This Supplemental Protective Order shall not diminish any existing restriction in

 the Protective Order with respect to Designated NXP Material. The Parties and Third Party NXP

 acknowledge and agree that this Supplemental Protective Order is a supplement to the Protective

 Order entered in this action on April 29, 2014 in the United States District Court for the Eastern

 District of Texas, Marshall Division. The Protective Order applies to all material designated

 pursuant to this Supplemental Protective Order. To the extent that there is any confusion or

 conflict between protective orders with respect to Designated NXP Material, then this

 Supplemental Protective Order governs.

        17.     In addition to the restrictions outlined in this Supplemental Protective Order,

 material designated as “NXP – OUTSIDE COUNSEL’S EYES ONLY – CONFIDENTIAL

 SOURCE CODE” shall be subject to obligations with respect to “RESTRICTED

 CONFIDENTIAL SOURCE CODE” materials outlined in the Protective Order.


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        18.     In addition to the restrictions outlined in this Supplemental Protective Order,

 material designated as “NXP – OUTSIDE COUNSEL’S EYES ONLY” shall be subject to

 obligations with respect to “RESTRICTED – ATTORNEYS’ EYES ONLY” material outlined in

 the Protective Order.

 C.     Scope

        19.     The protections conferred by this Supplemental Protective Order cover not only

 Designated NXP Material (as defined above), but also any information copied or extracted

 therefrom, as well as all copies, excerpts, summaries, or compilations thereof. Nothing herein

 shall alter or change in any way the discovery provisions of the Federal Rules of Civil Procedure

 or any applicable local rules or General Orders. Identification of any individual pursuant to this

 Supplemental Protective Order does not make that individual available for deposition, or any

 other form of discovery outside of the restrictions and procedures of the Federal Rules of Civil

 Procedure or any applicable rules or General Orders.

        20.     This Supplemental Protective Order shall not prevent a disclosure to which Third

 Party NXP consents in writing before that disclosure takes place.

        21.     This Supplemental Protective Order shall apply to all Designated NXP Material

 that is produced or provided for inspection in this action, including all Designated NXP Material

 that is in the possession, custody or control of NXP or any Party in this action, or that is

 otherwise relevant to this action.

 D.     Access to Designated NXP Material

        22.     Access to “NXP – OUTSIDE COUNSEL’S EYES ONLY” Material: Unless

 otherwise ordered by the Court or permitted in writing by Third Party NXP, a Receiving Party

 may disclose any information, document or thing designated “NXP – OUTSIDE COUNSEL’S

 EYES ONLY” only to:


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            a.    Persons who appear on the face of Designated NXP Material as an author,

                  addressee or recipient thereof, or persons who have been designated under

                  FRCP 30(b)(6) to provide testimony of behalf of a Producing Party or

                  NXP regarding the same;

            b.    Counsel of Record;

            c.    Outside Consultants of the Receiving Party to whom disclosure is

                  reasonably necessary for this litigation, and who have, after the date of this

                  Supplemental Protective Order, signed the “Acknowledgement And

                  Agreement To Be Bound By Supplemental Protective Order Governing

                  Confidential Information of Third Party NXP In This Case” attached

                  hereto as Exhibit A, and the “Certification Of Consultant Re Supplemental

                  Protective Order Governing Confidential Information of Third Party NXP

                  In This Case,” attached hereto as Exhibit B;

            d.    Any designated arbitrator or mediator who is assigned to hear this matter,

                  or who has been selected by the Parties, and his or her staff; who have,

                  after the date of this Supplemental Protective Order, signed the

                  “Acknowledgement And Agreement To Be Bound By Supplemental

                  Protective Order Governing Confidential Information of Third Party NXP

                  In This Case” attached hereto as Exhibit A, and the “Certification Of

                  Consultant Re Supplemental Protective Order Governing Confidential

                  Information of Third Party NXP In This Case,” attached hereto as Exhibit

                  B, as well as any arbitrator’s or mediator’s staff who have also signed

                  Exhibits A and B;




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              e.     Court reporters and videographers employed in connection with this

                     action; and

              f.     Professional Vendors to whom disclosure is reasonably necessary for this

                     action, and a representative of which has signed the “Acknowledgement

                     And Agreement To Be Bound By Supplemental Protective Order

                     Governing Confidential Information of Third Party NXP In This Case”

                     attached hereto as Exhibit A, subject to the following exception:

                     Designated NXP Material shall not be disclosed to mock jurors without

                     Third Party NXP’s express written consent;

              g.     The Court and its personnel.

       23.    Access to “NXP – OUTSIDE COUNSEL’S EYES ONLY – CONFIDENTIAL

 SOURCE CODE” Material: Unless otherwise ordered by the Court or permitted in writing by

 Third Party NXP, a Receiving Party may disclose any information, document, or thing

 designated “NXP – OUTSIDE COUNSEL’S EYES ONLY – CONFIDENTIAL SOURCE

 CODE” only to:

              a.     Persons who appear on the face of Designated NXP Material as an author,

                     addressee or recipient thereof, or persons who have been designated under

                     FRCP 30(b)(6) to provide testimony of behalf of a Producing Party or

                     NXP regarding the same;

              b.     Counsel of Record;

              c.     Outside Consultants of the Receiving Party to whom disclosure is

                     reasonably necessary for this litigation, and who have, after the date of this

                     Supplemental Protective Order, signed the “Acknowledgement And




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                  Agreement To Be Bound By Supplemental Protective Order Governing

                  Confidential Information of Third Party NXP In This Case” attached

                  hereto as Exhibit A, and the “Certification Of Consultant Re Supplemental

                  Protective Order Governing Confidential Information of Third Party NXP

                  In This Case,” attached hereto as Exhibit B;

            d.    Any designated arbitrator or mediator who is assigned to hear this matter,

                  or who has been selected by the Parties, and his or her staff; who have,

                  after the date of this Supplemental Protective Order, signed the

                  “Acknowledgement And Agreement To Be Bound By Supplemental

                  Protective Order Governing Confidential Information of Third Party NXP

                  In This Case” attached hereto as Exhibit A, and the “Certification Of

                  Consultant Re Supplemental Protective Order Governing Confidential

                  Information of Third Party NXP In This Case,” attached hereto as Exhibit

                  B, as well as any arbitrator’s or mediator’s staff who have also signed

                  Exhibits A and B, provided, however, that before such disclosure, NXP is

                  provided notice including: (a) the individual’s name and business title; (b)

                  business address; (c) business or professions; and (d) the individual’s CV.

                  NXP shall have five (5) business days from receipt of the notice to provide

                  detailed objections in writing stating the basis for its position that it has

                  good cause to object to such disclosure (plus three (3) extra days if notice

                  is given other than by hand delivery, e-mail delivery or facsimile

                  transmission). After the expiration of the 5 business days (plus 3 days, if

                  appropriate) period, if no objection has been asserted, then “NXP –




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                        OUTSIDE COUNSEL’S EYES ONLY – CONFIDENTIAL SOURCE

                        CODE” materials may be disclosed pursuant to the terms of this

                        Supplemental Protective Order;

                e.      Court reporters and videographers employed in connection with this

                        action, subject to the provisions provided in subparagraph 33(h) herein;

                f.      Professional Vendors to whom disclosure is reasonably necessary for this

                        action, and a representative of which has signed the “Acknowledgement

                        And Agreement To Be Bound By Supplemental Protective Order

                        Governing Confidential Information of Third Party NXP In This Case”

                        attached hereto as Exhibit A, subject to the following exception:

                        Designated NXP Material shall not be disclosed to mock jurors without

                        Third Party NXP’s express written consent; and

                g.      The Court and its personnel.

        24.     Unless otherwise ordered or agreed in writing by Third Party NXP, Designated

 NXP Material may not be disclosed to employees of a Receiving Party, including its in-house

 attorneys and support staff.

        25.     Unless otherwise ordered or agreed in writing by Third Party NXP, “NXP –

 OUTSIDE COUNSEL’S EYES ONLY” material may not be disclosed to mock jurors without

 prior permission of NXP.

        26.     Notwithstanding the Protective Order, unless otherwise ordered or agreed in

 writing by Producing Party, Designated NXP Material may not be disclosed to any in-house

 counsel for the Receiving Party.




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          27.   The Parties acknowledge that Designated NXP Material also may be subject to

 the US government export control and economic sanctions laws, including the Export

 Administration Regulations (“EAR”, 15 CFR 730 et seq., http://www.bis.doc.gov/ ) administered

 by the Department of Commerce, Bureau of Industry and Security, and the Foreign Asset

 Control Regulations (31 CFR 500 et seq., http://www.treas.gov/offices/enforcement/ofac/)

 administered by the Department of Treasury, Office of Foreign Assets Control (“OFAC”).

 Receiving Parties may not directly or indirectly export, re-export, transfer or release

 (collectively, “Export”) any Designated NXP Material to any destination, person, entity or end

 use prohibited or restricted under US law without prior US government authorization to the

 extent required by regulation. The US government maintains embargoes and sanctions against

 the countries listed in Country Groups E:1/2 of the EAR (Supplement 1 to part 740), currently

 Cuba, Iran, Libya, North Korea, North Sudan and Syria but any amendments to these lists shall

 apply.

          28.   Receiving Party may host “NXP – OUTSIDE COUNSEL’S EYES ONLY”

 Material only on either 1) any system inside the firewall of a law firm representing the Receiving

 Party, or 2) the system of a professional ESI Vendor retained by Counsel of Record of the

 Receiving Party. “NXP – OUTSIDE COUNSEL’S EYES ONLY” Material also cannot be sent

 or transmitted to any person, location, or vendor outside of the United States except to Counsel

 of Record and Outside Consultants designated pursuant to subparagraphs 22(b) and (c) and 23(b)

 and (c) above. To the extent that any “NXP – OUTSIDE COUNSEL’S EYES ONLY” Material

 is transmitted from or to authorized recipients outside of the Receiving Party’s Outside

 Counsel’s office, or outside of the ESI Vendor’s system, the transmission shall be by hand (and

 encrypted if in electronic format), by a secure transport carrier (e.g., Federal Express), or by




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 encrypted    electronic   means.   “NXP     –   OUTSIDE       COUNSEL’S        EYES     ONLY      –

 CONFIDENTIAL SOURCE CODE” may not be transmitted by electronic means.

        29.     Each person to whom Designated NXP Material may be disclosed, and who is

 required to sign the “Acknowledgement And Agreement To Be Bound By Supplemental

 Protective Order Governing Confidential Information of Third Party NXP In This Case” attached

 hereto as Exhibit A and, if applicable, the “Certification Of Consultant Re Supplemental

 Protective Order Governing Confidential Information of Third Party NXP In This Case,”

 attached hereto as Exhibit B, shall do so, prior to the time such Designated NXP Material is

 disclosed to him or her. Counsel for the Receiving Party who makes any disclosure of

 Designated NXP Material shall retain each original executed certificate and, upon written

 request, shall provide copies to counsel for Third Party NXP at the termination of this action.

        30.     Absent written permission from Third Party NXP, persons not permitted access to

 Designated NXP Material under the terms of this Supplemental Protective Order shall not be

 present at depositions while Designated NXP Material is discussed or otherwise disclosed. Pre-

 trial and trial proceedings shall be conducted in a manner, subject to the supervision of the Court,

 to protect Designated NXP Material from disclosure to persons not authorized to have access to

 such Designated NXP Material. Any Party intending to disclose or discuss Designated NXP

 Material at pretrial or trial proceedings must give advance notice to the Producing Party to assure

 the implementation of the terms of this Supplemental Protective Order.

 E.     Access By Outside Consultants

        31.     Notice. If a Receiving Party wishes to disclose Designated NXP Material to any

 Outside Consultant, Receiving Party must, prior to the Outside Consultant being granted access

 to any Designated NXP Material, provide notice to counsel for NXP, which notice shall include:

 (a) the individual’s name and business title; (b) business address; (c) business or profession; (d)


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 the individual’s CV; (e) any previous or current relationship (personal or professional) with

 Third Party NXP or any of the Parties to this action; (f) a list of other cases in which the

 individual has testified (at trial or deposition) within the last six years; (g) a list of all companies

 with which the individual has consulted or by which the individual has been employed within the

 last four years, the dates of the consultancy or employment, a brief description of the subject

 matter of the consultancy or employment, and copies of the “Acknowledgement and Agreement

 To Be Bound By Supplemental Protective Order” attached as Exhibit A, and the “Certification

 Of Consultant” attached hereto as Exhibit B, that have both been signed by that Outside

 Consultant.

        32.     Objections. With respect to Outside Consultants that have not been previously

 disclosed to Third Party NXP, Third Party NXP shall have five (5) business days, starting from

 the first business day following the date upon which Receiving Party provides the notice and all

 information required by paragraph 31 to the Producing Party, to object for good cause in writing

 to such disclosure (plus three (3) extra days if notice is given in any manner other than by hand

 delivery, e-mail delivery or facsimile transmission). After the expiration of the 5 business days

 (plus 3-days, if appropriate) period, if no objection for good cause has been asserted by Third

 Party NXP, then Designated NXP Material may be disclosed to the Outside Consultant pursuant

 to the terms of this Supplemental Protective Order. Any objection by Third Party NXP must be

 made for good cause, and must set forth in detail the grounds on which it is based. Should

 Receiving Party disagree with the basis for the objection(s), Receiving Party must first attempt to

 resolve the objection(s) informally with Third Party NXP. If the informal efforts do not resolve

 the dispute within five (5) business days from the date upon which Receiving Party was first

 notified of any objection for good cause by Third Party NXP, the Receiving Party may file a




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 motion with a district court of appropriate jurisdiction requesting that the objection(s) be quashed

 after that five (5) day period has passed. Third Party NXP shall have the burdens of proof and

 persuasion by a preponderance of the evidence on the issue of whether the objection(s) rest on

 good cause. Pending a ruling by the Court upon any such objection(s), or the subsequent

 resolution of the objection for good cause by Receiving Party and Third Party NXP, the

 discovery material shall not be disclosed to the person objected to by Third Party NXP.

 F.     Production of NXP – OUTSIDE COUNSEL’S EYES ONLY – CONFIDENTIAL
        SOURCE CODE Material

        33.     Third Party NXP’s Source Code and Chip-Level Schematics:

                a.      To the extent that a Producing Party makes NXP – OUTSIDE

                        COUNSEL’S EYES ONLY – CONFIDENTIAL SOURCE CODE”

                        Material available for inspection:

                        (i) The Producing Party shall make all relevant and properly requested

                        Third Party NXP Source Code available electronically and in text

                        searchable native format (and not in any format created using optical

                        character recognition) (1) if produced by Third Party NXP, in a separate

                        room at a secure facility selected by Third Party NXP or (2) if produced

                        by Defendants, at the offices of Counsel of Record for the producing

                        Defendant or at a secure facility approved by Third Party NXP. The

                        Producing Party shall make the Source Code available for inspection on a

                        stand-alone, non-networked personal computer running a reasonably

                        current version of the Microsoft Windows operating system (“Source

                        Code Computer”). Alternatively, solely at the option of the Producing

                        Party, the Producing Party may make such source code available on a



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                   Source Code Computer that is networked, in a configuration deemed

                   secure by Third Party NXP. The Source Code Computer shall be

                   configured to permit review of the Source Code through a password

                   protected account having read-only access. To facilitate review of the

                   Source Code at the secure facility, the Receiving Party may use

                   appropriate tool software on the Source Code Computer, which shall be

                   installed by the Producing Party, including at least one text editor like

                   Ultra Edit that is capable of printing out Source Code with page and/or

                   line numbers, and a source code comparison tool like Ultra Compare.

                   Should it be necessary, other mutually agreed upon tools may be used.

                   Licensed copies of other mutually agreed upon tool software shall be

                   installed on the Source Code Computer by the Producing Party and paid

                   for by the Receiving Party.

                   (ii) The Producing Party shall make all relevant and properly requested

                   Chip-Level Schematics available for inspection electronically on the

                   Source Code Computer in a secure room at a secure facility selected by

                   Third Party NXP. The Producing Party shall ensure that the Source Code

                   Computer includes software sufficient to allow a user to view such

                   electronic Chip-Level Schematics.

             b.    The Producing Party shall provide access to the Source Code Computer

                   during the normal operating hours of the secure facility as is reasonably

                   necessary for the Receiving Party’s review, throughout the duration of the

                   litigation.




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             c.    The Source Code Computer shall be equipped to allow printing of the

                   NXP – OUTSIDE COUNSEL’S EYES ONLY – CONFIDENTIAL

                   SOURCE CODE” Material made available for inspection by the

                   Producing Party. Copies of NXP – OUTSIDE COUNSEL’S EYES ONLY

                   – CONFIDENTIAL SOURCE CODE” Material shall only be made on

                   watermarked pre-Bates numbered paper, which shall be provided by the

                   Producing Party. Under no circumstances are original printouts of the

                   NXP – OUTSIDE COUNSEL’S EYES ONLY – CONFIDENTIAL

                   SOURCE CODE” Material to be made except for directly onto the

                   watermarked and numbered sides of the paper provided by the Producing

                   Party. Additionally, the Receiving Party may not print any continuous

                   block of source code that results in more than 50 consecutive printed

                   pages, except that Authorized Reviewer(s) may request the printing of a

                   continuous block of more than 50 pages, which request shall not be

                   unreasonably denied by the Producing Party so long as the Receiving

                   Party provides a good faith explanation of the need to exceed the limit

                   (e.g., a single function containing relevant source code is longer than 50

                   consecutive pages). Counsel for the Producing Party will keep the original

                   printouts, and shall provide copies of such original printouts to counsel for

                   the Receiving Party within four (4) business days of (1) any request by the

                   Receiving Party, or (2) otherwise being notified that such original

                   printouts have been made or designated. Counsel of Record for the

                   Receiving Party may request up to 10 copies of each original printout of




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                   NXP – OUTSIDE COUNSEL’S EYES ONLY – CONFIDENTIAL

                   SOURCE CODE” Material Source Code or Chip-Level Schematics. No

                   more than 10% or 1000 pages of the total Source Code (not including

                   copies of original printouts) whichever is greater, for any software release

                   (or in the case of hardware Source Code, for any hardware product), no

                   more than 500 pages of Chip-Level Schematics, and no continuous blocks

                   of Source Code or Chip-Level Schematics that exceed 50 pages, may be in

                   printed form at any one time, without the express written consent of Third

                   Party NXP, which shall not be unreasonably denied. All printed NXP –

                   OUTSIDE COUNSEL’S EYES ONLY – CONFIDENTIAL SOURCE

                   CODE” Material shall be logged by Receiving Party’s Counsel of Record

                   and/or other Personnel Retained by a Receiving Party in this action as

                   noted in subparagraph 33 (j) below. No additional electronic copies of the

                   NXP – OUTSIDE COUNSEL’S EYES ONLY – CONFIDENTIAL

                   SOURCE CODE” Material shall be provided by the Producing Party.

                   Hard copies of the NXP – OUTSIDE COUNSEL’S EYES ONLY –

                   CONFIDENTIAL SOURCE CODE” Material also may not be converted

                   into an electronic document, and may not be scanned using optical

                   character recognition (“OCR’) technology. Only printouts of NXP –

                   OUTSIDE COUNSEL’S EYES ONLY – CONFIDENTIAL SOURCE

                   CODE” Material may be made, and such printouts must include (1)

                   directory path information and filenames from which the Source Code and

                   Chip-Level Schematics came and (2) line numbers. The Producing Party




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                   may refuse to provide copies of NXP – OUTSIDE COUNSEL’S EYES

                   ONLY – CONFIDENTIAL SOURCE CODE” Material that fail to comply

                   with this section.

             d.    Authorized Reviewer(s) in this action shall not print NXP – OUTSIDE

                   COUNSEL’S EYES ONLY – CONFIDENTIAL SOURCE CODE”

                   Material which have not been reviewed on the Source Code Computer, or

                   in order to review the NXP – OUTSIDE COUNSEL’S EYES ONLY –

                   CONFIDENTIAL SOURCE CODE” Material elsewhere in the first

                   instance, i.e., as an alternative to reviewing that NXP – OUTSIDE

                   COUNSEL’S EYES ONLY – CONFIDENTIAL SOURCE CODE”

                   Material electronically on the Source Code Computer, as the Parties and

                   NXP acknowledge and agree that the purpose of the protections herein

                   would be frustrated by such actions.

             e.    Authorized Reviewer(s) are prohibited from bringing outside electronic

                   devices, including but not limited to laptops, floppy drives, zip drives, or

                   other hardware into the secure room. Nor shall any cellular telephones,

                   personal digital assistants (PDAs), Blackberries, cameras, voice recorders,

                   Dictaphones, external or portable telephone jacks or other outside

                   electronic devices be permitted inside the secure room, except for medical

                   devices, implants, or equipment reasonably necessary for any legitimate

                   medical reason.

             f.    If any Authorized Reviewer(s) reviewing Third Party NXP’s NXP –

                   OUTSIDE COUNSEL’S EYES ONLY – CONFIDENTIAL SOURCE




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                   CODE” Material seeks to take notes, all such notes will be taken on bound

                   (spiral or other type of permanently bound) notebooks. No loose paper or

                   other paper that can be used in a printer may be brought into the secure

                   room.

             g.    In the event copies of NXP – OUTSIDE COUNSEL’S EYES ONLY –

                   CONFIDENTIAL SOURCE CODE” Material are used as exhibits in a

                   deposition, additional copies may be made for the witness and outside

                   counsel for the parties. The printouts shall not be provided to the court

                   reporter, except that the one copy for the witness which will be used as an

                   exhibit can be provided to the court reporter for the purpose of marking

                   the exhibit, and the further copies of the original NXP Source Code or

                   Chip-Level Schematics printouts made for the deposition or trial shall be

                   destroyed at the conclusion of the deposition or trial. The original copies

                   of deposition exhibits designated “NXP – OUTSIDE COUNSEL’S EYES

                   ONLY – CONFIDENTIAL SOURCE CODE” will be maintained by the

                   deposing party under the terms set forth in this Supplemental Protective

                   Order.

             h.    In addition to other reasonable steps to maintain the security and

                   confidentiality of Third Party NXP’s Source Code and Chip-Level

                   Schematics, printed copies of the Designated Source Code Material

                   maintained by the Receiving Party must be kept in a locked storage

                   container when not being actively reviewed or otherwise being transferred




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                     as permitted by the Protective Order and/or this Supplemental Protective

                     Order.

              i.     The Receiving Party’s Counsel of Record shall keep log(s) recording the

                     identity of each individual beyond Counsel of Record to whom each hard

                     copy     of   NXP   –   OUTSIDE      COUNSEL’S       EYES     ONLY     –

                     CONFIDENTIAL SOURCE CODE” Material is provided and when it

                     was provided to that person in the first instance, and within thirty (30)

                     days after the issuance of a final, non-appealable decision resolving all

                     issues in this action, the Receiving Party must serve upon Third Party

                     NXP the log. In addition, any Outside Consultants of the Receiving Party

                     to whom the paper copies of the NXP – OUTSIDE COUNSEL’S EYES

                     ONLY – CONFIDENTIAL SOURCE CODE” Material were provided

                     must certify in writing that all copies of the NXP – OUTSIDE

                     COUNSEL’S EYES ONLY – CONFIDENTIAL SOURCE CODE”

                     Material were destroyed or returned to the counsel who provided them the

                     information and that they will make no use of the NXP – OUTSIDE

                     COUNSEL’S EYES ONLY – CONFIDENTIAL SOURCE CODE”

                     Material, or of any knowledge gained from the source code in any future

                     endeavor.

 G.    Procedure for Designating Materials

       34.    Subject to the limitations set forth in the Protective Order and in this

 Supplemental Protective Order, Third Party NXP may: designate as “NXP – OUTSIDE

 COUNSEL’S EYES ONLY” or information that it believes, in good faith, meets the definition

 set forth in paragraph 2 above; and designate as “NXP – OUTSIDE COUNSEL’S EYES ONLY


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 – CONFIDENTIAL SOURCE CODE” information that it believes, in good faith, meets the

 definition set forth in paragraph 5 above.

        35.     Except as provided above in paragraph 33 with respect to “NXP – OUTSIDE

 COUNSEL’S EYES ONLY – CONFIDENTIAL SOURCE CODE” Material, any material,

 including (including physical objects) made available by Third Party NXP for initial inspection

 by counsel for the Receiving Party prior to producing copies of selected items shall initially be

 considered, as a whole, to constitute “NXP – OUTSIDE COUNSEL’S EYES ONLY”

 information, and shall be subject to this Order. Thereafter, Third Party NXP shall have seven (7)

 calendar days from the inspection to review and designate the appropriate documents as “NXP –

 OUTSIDE COUNSEL’S EYES ONLY” prior to furnishing copies to the Receiving Party.

        36.     Designation in conformity with the Protective Order and this Supplemental

 Protective Order shall be made as follows:

                a.      For information in documentary (including “electronically stored

                        information”) form (apart from transcripts of depositions or other pretrial

                        or trial proceedings): the Designating Party shall affix the legend “NXP –

                        OUTSIDE COUNSEL’S EYES ONLY” or “NXP – OUTSIDE

                        COUNSEL’S EYES ONLY – CONFIDENTIAL SOURCE CODE”

                        conspicuously on each page that contains Protected Material. A party or

                        non-party that makes original documents or materials available for

                        inspection need not designate them for protection until after the Receiving

                        Party has indicated which material it would like copied or produced.

                        Before and during the inspection, all material made available for

                        inspection shall be deemed “NXP – OUTSIDE COUNSEL’S EYES




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                   ONLY.” After the Receiving Party has identified the documents it wants

                   copied and produced, the Producing Party must determine which

                   documents, or portions thereof, qualify for protection under this Order

                   and, before producing the specified documents, the Producing Party must

                   affix the appropriate legend to each page that contains Designated NXP

                   Material.

             b.    For Testimony Given in Deposition: For deposition transcripts, the

                   Designating Party shall specify any portions of the testimony that it wishes

                   to designate, by line and page number, no later than 20 business days after

                   the final transcript of the deposition has been received. The Party or Non-

                   Party may identify the entirety of the transcript as “NXP – OUTSIDE

                   COUNSEL’S EYES ONLY” or “NXP – OUTSIDE COUNSEL’S EYES

                   ONLY – CONFIDENTIAL SOURCE CODE,” but all deposition

                   transcripts not designated during the deposition will nonetheless be treated

                   as “NXP – OUTSIDE COUNSEL’S EYES ONLY” or “NXP – OUTSIDE

                   COUNSEL’S EYES ONLY – CONFIDENTIAL SOURCE CODE,” until

                   the time within which it may be appropriately designated as provided for

                   herein has passed. Any Protected Material that is used in the taking of a

                   deposition shall remain subject to the provisions of this Supplemental

                   Protective Order and the Protective Order in this action, along with the

                   transcript pages of the deposition testimony dealing with such Protected

                   Material. In such cases the court reporter shall be informed of this

                   Supplemental Protective Order and shall be required to operate in a




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                   manner consistent with this Supplemental Protective Order. Transcript

                   pages containing Designated Material must be separately bound by the

                   court reporter, who must affix to the top of each such page the legend

                   “NXP – OUTSIDE COUNSEL’S EYES ONLY” and/or “NXP –

                   OUTSIDE COUNSEL’S EYES ONLY – CONFIDENTIAL SOURCE

                   CODE.” An encrypted, password protected copy of deposition transcripts

                   containing Designated NXP Material made pursuant to this paragraph may

                   be hosted electronically by the Receiving Party on any system inside the

                   firewall of a law firm representing the Receiving Party, however, all other

                   restrictions in this Supplemental Protective Order pertaining to Designated

                   Source Code Material apply. In the event the deposition is videotaped, the

                   original and all copies of the videotape shall be marked by the video

                   technician to indicate that the contents of the videotape are subject to this

                   Supplemental Protective Order and the Protective Order, substantially

                   along the lines of “This videotape contains confidential or outside counsel

                   eyes only confidential testimony used in this case and is not to be viewed

                   or the contents thereof to be displayed or revealed except pursuant to the

                   terms of the operative protective orders in this matter or pursuant to

                   written stipulation of the parties.” Counsel for any Designating Party shall

                   have the right to exclude from oral depositions, other than the deponent,

                   deponent’s counsel, and the reporter and videographer (if any), any person

                   who is not authorized by the Protective Orders in this action to receive or




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                       access Protected Material based on the designation of such Protected

                       Material.

                c.     For information produced in some form other than documentary, and for

                       any other tangible items, the Designating Party shall affix, in a prominent

                       place on the exterior of the medium, container or containers in which the

                       information or item is stored, the appropriate legend.

                d.     The provisions of subparagraphs 36(a-c) do not apply to documents

                       produced in native format. For documents produced in native format, the

                       parties shall provide written notice to the Receiving Party of any

                       confidentiality designations at the time of production.

 H.     Use of Designated NXP Material

        37.     Use of Designated NXP Material By Receiving Party: Unless otherwise ordered

 by the Court, or agreed to in writing by Third Party NXP, all Designated NXP Material, and all

 information derived therefrom, shall be used by the Receiving Party only for purposes of this

 action, and shall not be used in any other way, or for any other purpose, including the

 acquisition, preparation or prosecution before the Patent office of any patent, patent application,

 for drafting or revising patent claims, or in connection with patent licensing or product

 development work directly or indirectly intended for commercial purposes related to the

 particular technologies or information disclosed in the Designated NXP Material. Information

 contained or reflected in Designated NXP Material shall not be disclosed in conversations,

 presentations by parties or counsel, in court or in other settings that might reveal Designated

 NXP Material, except in accordance with the terms of the Protective Order or this Supplemental

 Protective Order.




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        38.     Use of Designated NXP Material by Third Party NXP: Nothing in this

 Supplemental Protective Order shall limit Third Party NXP’s use of its own documents and

 information, nor shall it prevent Third Party NXP from disclosing its own confidential

 information, documents or things to any person. Such disclosure shall not affect any designations

 made pursuant to the terms of this Supplemental Protective Order, so long as the disclosure is

 made in a manner that is reasonably calculated to maintain the confidentiality of the information.

        39.     Use of Designated NXP Material at Deposition: Third Party NXP shall, on

 request prior to the deposition, make a searchable electronic copy of the NXP Source Code

 available on a stand-alone computer connected to a printer during depositions of NXP or other

 personnel otherwise permitted access to such Source Code. To the extent required, the party

 conducting the deposition may print additional pages of Source Code printouts to be marked as

 exhibits at such depositions consistent with other provisions and limitations of the Protective

 Order and this Supplemental Protective Order. Except as may be otherwise ordered by the

 Court, any person may be examined as a witness at depositions and trial, and may testify

 concerning all Designated NXP Material of which such person has prior knowledge.

        40.     Use of Designated NXP Material at Hearing or Trial: The Parties will give Third

 Party NXP prior notice of the identity of any Designated NXP Material that such Party proposes

 to disclose at any hearing or trial in this case. Said notice shall be served by facsimile or email on

 counsel for Third Party NXP at least five (5) business days prior to the hearing or first day of

 trial; however, if notice cannot be given at least five (5) days prior to such hearing or trial, notice

 shall be given at the earliest reasonable opportunity. Said notice shall identify the measures the

 party intends to rely upon to protect the Designated NXP Material when used at any hearing or

 trial consistent with this Supplemental Protective Order. NXP may object to the measures




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 proposed to protect the Designated NXP Material, and the parties must meet and confer in good

 faith to resolve any such NXP objections. This section shall not limit in any way the use of

 Designated NXP Material during the cross-examination of any witness otherwise permitted

 access to such Designated NXP Material, as long as the parties take all necessary steps to protect

 and maintain the confidentiality of any such Designated NXP Material.

 I.     Prosecution and Development Bar

        41.     Unless otherwise permitted in writing between Producing Party and Receiving

 Party, any individual who personally receives any material designated “NXP – OUTSIDE

 COUNSEL’S EYES ONLY” or “NXP – OUTSIDE COUNSEL’S EYES ONLY –

 CONFIDENTIAL SOURCE CODE” shall:

        (a) not participate in amending or drafting patent specifications or claims before a Patent

 Office of any patent or patent application substantially related to the particular technology or

 information disclosed in the Designated NXP Material, from the time of receipt of such material

 through the time the individual person(s) cease to have access to materials designated “NXP –

 OUTSIDE COUNSEL’S EYES ONLY” or “NXP – OUTSIDE COUNSEL’S EYES ONLY –

 CONFIDENTIAL SOURCE CODE,” as well as any materials that contain or disclose NXP

 Material so designated. This provision shall not apply to post-grant proceedings, including

 without limitation any inter partes review, CBM review, post-grant review, reexamination or

 opposition proceedings filed in relation to the patents-in-suit or foreign counterparts, so long as

 participation in such post-grant proceedings does not involve drafting or amending patent claims,

 providing input on how claims should be drafted or amended, assisting in drafting or amending

 patent claims, or advising on drafting or amending patent claims. This provision also shall not

 limit any person's ability to represent a party in an inter partes review proceeding, so long as that

 person’s representation does not involve drafting or amending patent claims, providing input on


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 how claims should be drafted or amended, assisting in drafting or amending patent claims, or

 advising on drafting or amending patent claims;

        (b) not perform hardware or software development work or product development work

 intended for commercial purposes substantially related to the particular technology or

 information disclosed in the Designated NXP Material from the time of first receipt of such

 material through the date the Outside Consultant ceases to have access to any material designated

 “NXP – OUTSIDE COUNSEL’S EYES ONLY” or “NXP – OUTSIDE COUNSEL’S EYES

 ONLY – CONFIDENTIAL SOURCE CODE,” as well as any materials that contain or disclose

 NXP Material so designated.

 J.     Designated NXP Material Subpoenaed or Ordered Produced In Other Litigation

        42.     If a Receiving Party is served with a subpoena or a court order that would compel

 disclosure of any information, documents or things designated in this action as “NXP –

 OUTSIDE COUNSEL’S EYES ONLY” or “NXP – OUTSIDE COUNSEL’S EYES ONLY –

 CONFIDENTIAL SOURCE CODE”, Receiving Party must notify the Producing Party and

 Third Party NXP of such information, documents or things, in writing (by fax and email)

 promptly, and in no event more than ten (10) calendar days after receiving the subpoena or order.

 Such notification must include a copy of the subpoena or order. Receiving Party also must

 immediately inform, in writing, the party who caused the subpoena or order to issue that some or

 all of the material covered by the subpoena or order is subject to this Supplemental Protective

 Order and the Protective Order. In addition, the Receiving Party must provide a copy of this

 Supplemental Protective Order and the Protective Order promptly to the party in the other action

 that caused the subpoena or order to issue. The purpose of imposing these duties is to alert the

 interested parties to the existence of this Supplemental Protective Order and the Protective Order,

 and to afford the Party whose Designated NXP Material in this case, is at issue in the other case,


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 an opportunity to try to protect its confidentiality interests in the court from which the subpoena

 or order issued. Producing Party shall bear the burdens and the expenses of seeking protection in

 that court of its Designated NXP Material. Nothing in these provisions should be construed as

 authorizing or encouraging any Receiving Party in this action to disobey a lawful directive from

 another court.

 K.     Unauthorized Disclosure Of Designated NXP Material

        43.       If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed

 Designated NXP Material to any person or in any circumstance not authorized under this Order,

 the Receiving Party must immediately (a) notify in writing Producing Party and Non- Party NXP

 of the unauthorized disclosures, (b) use its best efforts to retrieve all copies of the Designated

 NXP Material, (c) inform the person or persons to whom unauthorized disclosures were made of

 all the terms of this Order, and (d) request such person or persons to execute the

 “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit A. Nothing in

 these provisions should be construed as limiting any Producing Party’s rights to seek remedies

 for a violation of this Supplemental Protective Order.

 L.     Duration

        44.       Even after the termination of this action, the confidentiality obligations imposed

 by this Supplemental Protective Order shall remain in effect following the termination of this

 action, or until Third Party NXP agrees otherwise in writing or a court order otherwise directs.

 M.     Final Disposition

        45.       Unless otherwise ordered or agreed in writing by Producing Party, within sixty

 (60) days of the termination of all of this action, whether through settlement or final judgment

 (including any and all appeals therefrom), each Receiving Party, including Outside Counsel for

 each Receiving Party, will destroy all Designated NXP Material produced by Third Party NXP


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 or any other Party in this action and will destroy or redact any such Designated NXP Material

 included in work product, pleadings, motion papers, legal memoranda, correspondence, trial

 transcripts and trial exhibits admitted into evidence (“derivations”) and all copies thereof, with

 the exception of copies stored on back-up tapes or other disaster recovery media. Within sixty

 (60) days of the date of settlement or final judgment, each Receiving Party shall serve Third

 Party NXP with a certification stating that it, including its Outside Counsel, has complied with

 its obligations under this paragraph. With respect to any copy of Designated NXP Material or

 derivation thereof that remains on back-up tapes and other disaster storage media of an

 Authorized Reviewer(s), neither the Authorized Reviewer(s) nor its consultants, experts, counsel

 or other party acting on its behalf shall make copies of any such information available to any

 person for any purpose other than backup or disaster recovery unless compelled by law and, in

 that event, only after thirty (30) days prior notice to Producing Party or such shorter period as

 required by court order, subpoena, or applicable law.



        IT IS SO ORDERED.

        SIGNED this 5th day of December, 2014.




                                              _____________________________
                                              WILLIAM C. BRYSON
                                              UNITED STATES CIRCUIT JUDGE




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                                            EXHIBIT A

 ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND BY SUPPLEMENTAL
 PROTECTIVE ORDER GOVERNING CONFIDENTIAL INFORMATION OF THIRD
 PARTY NXP IN THIS CASE

        I, _______________________________________ [print or type full name], state: My

 business address is ______________________________________________________;

        1.      My present employer is _____________________________________________;

        2.      My present occupation or job description is _____________________________;

        3.      I have been informed of and have reviewed the Supplemental Protective Order

 Governing Discovery from Third Party NXP (the “Supplemental Protective Order”) entered in

 this case, and understand and agree to abide by its terms. I agree to keep confidential all

 information provided to me in the matter of NFC Technology LLC v. HTC America, Inc. et al.,

 Civil Action No. 2:13-cv-1058, in the United States District Court, Eastern District of Texas

 Marshall Division in accordance with the restrictions in the Supplemental Protective Order, and

 to be subject to the authority of that Court in the event of any violation or dispute related to the

 Supplemental Protective Order.

        4.      I state under penalty of perjury under the laws of the United States of America

 that the foregoing is true and correct.


                                                       [Signature]

  Executed On
                                                       [Printed Name]




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                                          EXHIBIT B

 CERTIFICATION OF CONSULTANT RE SUPPLEMENTAL PROTECTIVE ORDER
 GOVERNING CONFIDENTIAL INFORMATION OF THIRD PARTY NXP IN THIS
 CASE

        I, _______________________________________ [print or type full name], of

 _______________________________________ am not an employee of the Party who retained

 me or of a competitor of any Party or Third Party NXP and will not use any information,

 documents, or things that are subject to the Supplemental Protective Order Governing Discovery

 From Third Party NXP in NFC Technology LLC v. HTC America, Inc. et al., Civil Action No.

 2:13-cv-1058, in the United States District Court, Eastern District of Texas, Marshall Division,

 for any purpose other than this litigation. I agree not to perform hardware or software

 development work or product development work intended for commercial purposes substantially

 related to the particular technology or information disclosed in the Designated NXP Material

 from the time of first receipt of such material through the date I cease to have access to any

 material designated “NXP – OUTSIDE COUNSEL’S EYES ONLY” or “NXP – OUTSIDE

 COUNSEL’S EYES ONLY – CONFIDENTIAL SOURCE CODE,” as well as any materials that

 contain or disclose NXP Material so designated.

        I state under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.


                                                     [Signature]

  Executed On
                                                     [Printed Name]




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